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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re Chapter 11
PATRIOT NATIONAL, INC., ef al.,' Case No. 18-10189 (KG)
Debtors. (Jointly Administered)
Re: D.I. 179

 

 

ORDER PURSUANT TO 11 U.S.C. §§ 362 AND 105 AND LOCAL RULES 9019-3
“AND 9019-5 (I) EXTENDING TEMPORARY STAY OF CLAIMS AGAINST THE
DEBTORS’ DIRECTORS AND OFFICERS AND (II) DETERMINING THAT THE

MEDIATION SATISFIES ALTERNATIVE DISPUTE RESOLUTION REQUIREMENTS
UNDER THE DEBTORS’ DIRECTORS AND OFFICERS INSURANCE POLICIES

Upon the motion (the “Motion”),’ dated April 26, 2018, of the debtors and
debtors-in-possession in the above-captioned case (the “Debtors”) for entry of an order (this
“Order”), (i) extending the temporary stay of litigation against the Debtors’ current and former
officers and directors for an additional sixty (60) days to further the mediation of certain claims
(the “Mediation”) required pursuant to the Order Pursuant to 11 U.S.C. §§ 362 and 105 and
Local Rules 9019-3 and 9019-5 (I) Compelling Mediation of Claims Against the Debtors’
Directors and Officers and (II) Temporarily Staying Related Litigation (the “Mediation Order”)

(Docket No. 256) and (ii) determining that the Mediation satisfies the requirement in the

Debtors’ directors and officers insurance policies (the “D&O Policies”) that any disputes arising

 

1. The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtors’ federal tax identification
number, are: Patriot National, Inc. (1376), Patriot Services, LLC (1695); TriGen Insurance Solutions, Inc.
(2501); Patriot Captive Management, LLC (2341); Patriot Underwriters, Inc. (0045); TriGen Hospitality Group,
Inc. (6557); Patriot Risk Consultants, LLC (0844); Patriot Audit Services, LLC (5793); Patriot Claim Services,
Inc. (9147); Patriot Risk Services, Inc. (7189); Corporate Claims Management, Inc. (6760); CWIBenefits, Inc.
(0204); Forza Lien, LLC (7153); Contego Investigative Services, Inc. (0330); Contego Services Group, LLC
(0012); Patriot Care Management, LLC (2808); Radar Post-Closing Holding Company, Inc. (2049); Patriot
Technology Solutions, LLC (6855); and Decision UR, LLC (1826). The Debtors’ business address is 401 East
Las Olas Boulevard, Suite 1650, Fort Lauderdale, Florida 33301.

2. Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

 
 

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in connection with such policies be submitted to an alternative dispute resolution process, as
more fully set forth in the Motion; and it appearing that this Court has jurisdiction to consider the
Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference
from the United States District Court for the District of Delaware, dated February 29, 2012; and
this Court having found that it may enter a final order consistent with Article III of the United
States Constitution; and the Court having found that this is a core proceeding pursuant to 28
U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and the Motion in
this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the
hearing to consider the relief requested herein (the “Hearing”) having been provided to the
parties provided for in the Motion and no further notice being necessary; and the legal and
factual bases set forth in the Motion establishing just and sufficient cause to grant the relief
requested therein; and the relief granted herein being in the best interests of the Debtors, their
estates, creditors, and all parties in interest; and the Court having held the Hearing with the
appearances of interested parties noted in the record of the Hearing; and the Court having
considered the objections to the Motion; and upon all of the proceedings before the Court;
IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED as set forth herein. To the extent any
objections to the Motion have not been withdrawn or resolved by this Order, they are overruled
in all respects on the merits.

2. The Actions set forth in Exhibit 1 hereto are stayed through

J, AR AS , 2018, unless this Court orders an extension of the stay for good cause

after notice and hearing thereon. Debtezs uditt IC, feat ta hE
Court ou “Us. status s ot +s. Cate Cation .

All parties reserve all rights concerning whether any stay should continue

beyond ‘ean SL A , 2018.

 
 

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4. The following parties are directed to participate in the Mediation directed
by this Court in the Mediation Order with respect to all Claims that may be covered under the
D&O Policies and any claims against the Prepetition Agent: the Debtors (or, as applicable, the
Plan Administrator or Litigation Trustee, as such terms are defined in the Debtors’ Fourth
Further Amended Joint Chapter 11 Plan of Reorganization (Docket No. 702)); the Prepetition
Agent; the Insurers; the Committee; and the plaintiffs and defendants in the Actions set forth in
Exhibit 1 hereto. Local Rule 9019-5 shall govern the conduct and all aspects of the Mediation.

5. The Mediation directed by this Court in the Mediation Order satisfies the
Alternative Dispute Resolution requirements set forth in Clause 12(F) of the Primary Policies for
all purposes. If the Mediation is terminated without resolution, the Debtors shall not be required
to engage in any further Alternative Dispute Resolution process before commencing a judicial
proceeding to resolve any disputes or differences which may arise under or in connection with
the D&O Policies, whether arising before or after termination of the D&O Policies, including
any determination of the amount of Loss (as such term is defined in the D&O Policies).

6. The terms of this Order shall be immediately effective and enforceable
upon its entry.

7. The Debtors are authorized and empowered to take all actions necessary to
implement the relief granted in this Order.

8. The Court shall retain jurisdiction to hear and determine all matters arising

 

from or related to the implementation, interpretation or enforcement of this Order.

Dated: WU [5 2018
Wilmington\ Delaware

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THE HONORABLE KEVIN GROSS
UNITED STATES BANKRURBTCY JUDGE
